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                                      5
                                          Attorneys for Defendant
                                      6   MANUEL AGUEROS
                                      7

                                      8                                  IN THE UNITED STATES DISTRICT COURT

                                      9                                    EASTERN DISTRICT OF CALIFORNIA

                                     10

                                     11   UNITED STATES OF AMERICA,                             Case No. 2:17-CR-00053-JAM
                                     12                     Plaintiff,
                                                                                                STIPULATION AND ORDER
                                     13            v.
B ARTH D ALY LLP
               A TTORNEYS A T L AW




                                     14   MANUEL AGUEROS,
                                     15                     Defendant.

                                     16
                                                                                     STIPULATION
                                     17
                                                   Plaintiff United States of America, by and through its counsel of record, Assistant United
                                     18
                                          States Attorney Kevin Khasigian and defendant Manuel Agueros, by and through his counsel of
                                     19
                                          record Kresta Nora Daly, hereby stipulate as follows:
                                     20
                                                   1.      By previous order, this matter was set for sentencing on April 23, 2019.
                                     21
                                                   2.      By this stipulation, the parties request that this Court vacate the current sentencing
                                     22
                                          on April 23, 2019, and reschedule the sentencing to May 28, 2019 at 9:15 a.m. before the
                                     23
                                          Honorable John A. Mendez, to coincide with petitioner National Union Fire Insurance Company
                                     24
                                          of Pittsburgh, Pa.'s ancillary hearing and the sentencing hearings for other defendants.
                                     25
                                                   3.      Probation is aware of this request and does not oppose.
                                     26
                                          ///
                                     27
                                          ///
                                     28
                                          {00027851}                                        -1-
                                           STIPULATION AND [PROPOSED] ORDER                                                 [Case No. 2:17-CR-00053-JAM]
                                             Case 2:17-cr-00053-JAM Document 155 Filed 03/28/19 Page 2 of 3


                                      1            4.      The parties propose the following schedule of disclosure dates:
                                      2                    Draft Presentence Report due          April 16, 2019
                                      3                    Written Objections due:               April 30, 2019
                                      4                    Presentence Report due                May 7, 2019
                                      5                    Motion for Correction due:            May 14, 2019
                                      6                    Reply/Non-Opposition due:             May 21, 2019
                                      7                    Hearing                               May 28, 2019
                                      8            It is so stipulated.
                                      9

                                     10   Dated: March 27, 2019.                 McGREGOR W. SCOTT
                                                                                 United States Attorney
                                     11

                                     12                                                   /s/ Kevin C. Khasigian
                                                                                          KEVIN C. KHASIGIAN
                                     13                                                   Assistant United States Attorney
B ARTH D ALY LLP
               A TTORNEYS A T L AW




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                                     15   Dated: March 27, 2019.                 BARTH DALY LLP
                                     16
                                                                                 By     /s/Kresta Nora Daly
                                     17                                                 KRESTA NORA DALY
                                                                                 Attorneys for Defendant MANUEL AGUEROS
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                                          {00027851}                                       -2-
                                          STIPULATION AND [PROPOSED] ORDER                                                   [Case No. 2:17-CR-00053-JAM]
                                             Case 2:17-cr-00053-JAM Document 155 Filed 03/28/19 Page 3 of 3


                                      1                                                  ORDER
                                      2            The Court, having received, read and considered the stipulation of the parties, vacates the
                                      3   sentencing currently set for April 23, 2019 and reschedules it for May 28, 2019, at 9:15 a.m. and
                                      4   the new schedule of disclosure shall be as follows:
                                      5

                                      6                   Draft Presentence Report due           April 16, 2019
                                      7                   Written Objections due:                April 30, 2019
                                      8                   Presentence Report due                 May 7, 2019
                                      9                   Motion for Correction due:             May 14, 2019
                                     10                   Reply/Non-Opposition due:              May 21, 2019
                                     11                   Hearing                                May 28, 2019
                                     12

                                     13
B ARTH D ALY LLP
               A TTORNEYS A T L AW




                                     14                   IT IS SO ORDERED.
                                     15   Dated: 3/27/2019
                                     16                                                   /s/ John A. Mendez________________________
                                                                                          HONORABLE JOHN A. MENDEZ
                                     17                                                   JUDGE, UNITED STATES DISTRICT COURT
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                                          {00027851}                                       -3-
                                          STIPULATION AND [PROPOSED] ORDER                                                [Case No. 2:17-CR-00053-JAM]
